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                              UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16
17
       UNITED STATES OF AMERICA,               CASE NO. CR 13-00739-SVW
18
                      Plaintiff,                MOTION TO COMPEL
19                                              DISCOVERY; DECLARATION
                 v.                             OF MATTHEW DONALD
20                                              UMHOFER; EXHIBITS
       CINDY OMIDI,
21                                             Date: TBD
                      Defendant.               Time: TBD
22                                             Courtroom: 6
23                                             The Honorable Stephen V. Wilson
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1                TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2                PLEASE TAKE NOTICE THAT at a time to be determined by the Court,
3      United States District Court Judge Stephen V. Wilson, defendant Cindy Omidi, by
4      and through her attorneys of record, will and hereby does move for an order
5      compelling discovery.
6                This Motion is based on this Notice of Motion and Motion; the attached
7      Memorandum of Points and Authorities, Declaration of Matthew Donald Umhofer
8      and exhibits thereto; the records and files herein; and such argument or other
9      evidence that may be presented at the time of the hearing on this motion.
10               This Motion is made following a conference of counsel pursuant to Local
11     Rule 7-3, which took place on June 27, 2014.
12
       DATED: July 1, 2014
13
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2      I.        INTRODUCTION
3                Defendant Cindy Omidi (“Ms. Omidi”) respectfully asks the Court: (1) to
4      compel production of the sealed search warrant affidavit for her residence, which
5      was executed at the time of her arrest in this case on June 4, 2014; (2) to compel
6      limited production of grand jury transcripts demonstrating whether the government
7      presented to the grand jury sufficient evidence of an essential element of the
8      charged offense – evidence that recently produced e-mails reveal the government
9      was still scrambling to obtain days after the indictment; and (3) to compel the
10     government to perform its obligation of reviewing the evidence in its possession –
11     including all evidence seized in the June 4 searches of Ms. Omidi’s residence and
12     other locations – for Brady material in advance of trial.
13               Ms. Omidi is charged in a one-count indictment with structuring purchases
14     of postal money orders five to six years ago in an effort to sidestep an obscure
15     $3,000 reporting requirement. The government does not contend that the money
16     used to purchase the money orders came from an illegal source, nor does it contend
17     that the money orders themselves were used for any illegal purpose. Although the
18     indictment charges a penalty enhancement based on the structuring of over
19     $100,000 in a 12-month period, the total of all transactions alleged in the
20     indictment is $86,800, and those transactions are spread out over more than 15
21     months.
22               The charged conduct, which (based on discovery recently received from the
23     government) was apparently investigated and abandoned by the Postal Inspection
24     Service in 2008 and 2009, was resurrected in 2012 as part of an apparent effort to
25     gain leverage against Ms. Omidi and her sons in connection with an FDA
26     investigation that was then (and remains) ongoing. After scrambling to indict the
27     case in October 2013 before more of the alleged conduct became time-barred by
28     the statute of limitations, the government placed the indictment under seal for
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1      seven months while it tried to gather essential evidence of the charged transactions
2      – specifically, evidence that the money orders had been purchased with cash, as
3      required to make the reporting requirement applicable – that it had unsuccessfully
4      sought on the eve of indictment. When it unsealed the indictment, the government
5      arrested the 65-year-old Ms. Omidi at gunpoint and conducted searches of her
6      house and several related businesses in connection with the FDA investigation,
7      seizing a massive amount of paper and electronic data that the government has
8      readily admitted it is incapable of reviewing for Brady material prior to trial. The
9      government has further refused to disclose the search warrant affidavit for Ms.
10     Omidi’s home, despite the substantial overlap between the two investigations and
11     the government’s refusal to commit to not using any of the seized evidence (or
12     evidence derived therefrom) at the trial in this case.
13               By this motion, Ms. Omidi seeks to compel the government to comply with
14     its discovery obligations so that she may receive the fair trial guaranteed to her by
15     the United States Constitution.
16     II.       STATEMENT OF FACTS
17               A.    The Charges in the Indictment
18               The single-count indictment in this case charges Ms. Omidi with structuring
19     purchases of postal money orders in violation of 31 U.S.C. § 5324, and seeks an
20     enhanced statutory maximum based on such conduct’s purportedly forming “part
21     of a pattern of any illegal activity involving more than $100,000 in a 12-month
22     period.” 31 U.S.C. § 5324(d)(2); see also 31 U.S.C 5322(b). The indictment,
23     however, identifies transactions totaling only $86,800, and those transactions are
24     spread out over more than 15 months; moreover, all but a handful of the events
25     alleged in the indictment took place more than five years ago (between August and
26     December 2008), with the last alleged transaction occurring in November 2009.
27               The government has conceded that it will not be suggesting at trial that the
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1      source of the funds used to purchase the postal money orders was illegal or illicit;
2      rather, in a neat bit of bootstrapping, the government maintains that the “pattern of
3      illegal activity” forming the basis for the enhancement is the alleged structuring
4      itself. The government has further agreed that it will not be claiming that the
5      money orders were used for an illegal purpose; most of them were deposited into
6      the bank account of Pacific West Dermatology, a business with which Ms. Omidi
7      is associated. Some of those deposits aggregated the money orders into totals
8      exceeding $10,000, which not only explains why the government did not charge
9      the far more common structuring statute involving bank Currency Transaction
10     Reports, but also significantly negates any intent on Ms. Omidi’s part to evade
11     reporting requirements.
12               B.    The Government Resurrects a Stale and Previously Abandoned
13                     Structuring Investigation in Order to Gain Leverage on Ms.
                       Omidi and Her Sons in a Larger Ongoing Investigation
14
                 The explanation for why the government has now chosen to indict Ms.
15
       Omidi on an obscure postal money order structuring charge falling mostly outside
16
       the statute of limitations lies in the fact that the Food and Drug Administration
17
       (“FDA”) has been investigating Ms. Omidi and her sons since at least 2012 for
18
       conspiracy health care fraud, tax violations, money laundering, and other offenses.
19
       Indeed, the government was fully aware of the conduct alleged in the indictment
20
       when it occurred, but chose to do nothing about it. In a 2012 e-mail exchange
21
       between law enforcement agents, a United States Postal Inspection Service
22
       (“USPIS”) Inspector acknowledged to FDA Special Agent Samanta Kelley, “We
23
       had looked at this activity back in 2008-early 2009 as they were structuring all
24
       their purchases, but then it abruptly stopped . I spoke to the Inspector that had
25
       worked on it back in 2008-2009 . . . .” (Ex. A, E-mail Exchange between Samanta
26
       Kelley and Victoria Martin (“Kelley-Martin E-mail”).) Apparently, the
27
       investigation the USPIS abandoned in 2009 was resurrected in 2012 when the FDA
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1      inquired in connection with its investigation of Ms. Omidi and her sons. (Id.)
2                Six months after that inquiry, in November 2012, the USPIS submitted a
3      report to the United States Attorney’s Office suggesting that Ms. Omidi be charged
4      with structuring and money laundering, for the very same activity that the USPIS
5      had looked into in 2008 and 2009 and apparently found not of interest or not
6      chargeable. (Ex. B, Letter from Victoria Martin to AUSA David Kirman, dated
7      Nov. 5, 2012 (“Martin Report”).) The government then delayed nearly a year
8      before filing the Indictment on October 11, 2013.
9                C.    In an Effort to Beat the Statute of Limitations, the Government
10                     Hastily Indicts Ms. Omidi, Then Seals the Indictment For
                       Pretextual Reasons While it Scrambles to Gather Evidence to
11                     Support the Stale Charge
12               The indictment was not made public when it was filed; it was placed under
13     seal. The government insisted that the indictment needed to be sealed because Ms.
14     Omidi was separately under investigation for additional alleged conduct, and the
15     indictment in this case could cause Ms. Omidi “or others to alter or destroy
16     documents, divest assets, influence witnesses, flee the jurisdiction, or otherwise
17     impair the integrity of the investigation.” (Ex. C, Dkt. No. 2, Ex Parte Application
18     to Seal Indictment, Attach. AUSA David Kirman Decl. (“Sealing App.”), at 2-3.)
19     In its sealing application, the government indicated that it intended to conduct
20     searches regarding the additional conduct under investigation in November or
21     December of 2013, and said that it planned to time its arrest of Ms. Omidi on the
22     Indictment to coincide with the timing of those searches. (Ex. C, Sealing App., at
23     3.)
24               As public records and documents produced by the government reveal, the
25     government’s purported reason for sealing the indictment was a mere pretext. The
26     government’s efforts to target Ms. Omidi and her family in the broader
27     investigation were no secret, but had been made public by the government itself
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1      more than a year prior to the filing of this indictment under seal. In June 2012, the
2      government publicly and improperly disclosed that the Omidis were targets of a
3      wide-ranging investigation in an affidavit sworn by Food and Drug Administration
4      agent Samanta Kelley:
5                     I am one of the agents assigned to investigate 1-800-
                      GET-THIN, Top Surgeons, Inc., Michael Omidi, Julian
6                     Omidi, Beverly Hills Surgery Center/ and numerous
                      related individuals and entities (collectively/ "1-800-
7                     GET-THIS) that conduct an enterprise that promotes and
                      conducts Lap-Band surgery. . . . Along with agents from
8                     multiple other federal and state agencies, I am conducting
                      an investigation of 1-800-GET THIN for potential
9                     violations of federal law including conspiracy, health
                      care fraud, wire fraud, mail fraud, tax violations, identity
10                    theft, money laundering, and the Food and Drug
                      Cosmetic Act.
11
12     (Ex. D, Affidavit of Samanta Kelley in Support of Complaint Against Tiffiny
13     Burrows, dated June 8, 2012, at 2-3.) The investigation had also been intensively
14     covered by the Los Angeles Times and other news outlets. (See, e.g.,
15     http://articles.latimes.com/2012/oct/23/business/la-fi-get-thin-feds-20121023;
16     http://www.latimes.com/business/la-fi-get-thin-accreditation-20130822-story.html;
17     http://articles.latimes.com/2013/may/10/business/la-fi-get-thin-omidi-20130511.). Several
18     grand jury subpoenas had been served on the businesses under investigation,
19     including businesses the government believes to be associated with Ms. Omidi, and
20     substantial amounts of documents had been produced in response to those
21     subpoenas. Thus, there was nothing that the structuring indictment could possibly
22     disclose about the ongoing investigation because that investigation was already
23     public and known to Ms. Omidi. Indeed, the notion that an indictment on a
24     structuring charge would cause the 65-year-old Ms. Omidi (a cancer survivor and
25     30-year resident of Los Angeles) or her sons to flee, destroy documents, or do
26     other things that they had not done after years of intensive and public federal
27     investigation is so patently unfounded that it suggests other reasons were behind
28     the sealing.
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1                The government has recently produced e-mails that further demonstrate that
2      the government’s sealing application was a pretext designed to conceal the fact that
3      the government was unprepared to proceed with the structuring indictment but
4      wanted to indict quickly in an attempt to avoid mounting statute-of-limitations
5      problems. In October 2013, several of the transactions alleged in the indictment
6      were falling beyond the statute of limitations; indeed, five of the 23 transaction
7      dates at issue in the indictment were already more than five years old, and eight
8      more October 2008 dates would soon lapse beyond the five-year threshold. It was
9      therefore incumbent on the government to indict quickly. The day before the
10     indictment was presented and returned, the government issued an “urgent, one time
11     data request” seeking information concerning the very issue at the heart of the
12     postal money transactions charged in the indictment – specifically, records
13     concerning “what type of tender(s) was used to pay for these money order
14     purchases.” (Ex. E, E-mail exchange involving Eugene Seffert (“Seffert E-mail”),
15     dated Oct. 10-16, 2013.) This means that on the day before the government filed
16     an indictment charging Ms. Omidi with structuring cash purchases of money
17     orders, the government was scrambling to obtain essential evidence that cash was
18     actually used to buy those money orders. See 31 C.F.R. § 103.29 (requiring
19     financial institutions to maintain records of money orders purchased with “$3,000
20     or more in currency” (emphasis added)); Indictment ¶ 3 (“The [Bank Secrecy Act]
21     required the USPS and other financial institutions to obtain information about any
22     customer who purchased $3,000 or more in money orders using cash.” (emphasis
23     added)).
24               The flurry of e-mails on the eve of indictment made it clear to the
25     government that it could not get the requested information in time. (Ex. E, Seffert
26     E-mail (“The money orders you have requested are from August 2010 and earlier.
27     This data is now archived. It can be retrieved from Archives but there would be a
28     cost associated with it and with providing the data. . . . I cannot say how long it
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1      would take as we need Eagan to provide the data.”).) Nevertheless, the
2      government went forward with the presentation and filing of the indictment the
3      next day, on October 11, 2013. Nearly a week later, on October 16, 2013, the
4      government was still pressing its “urgent” request for additional information
5      regarding the form of tender used for the transactions alleged in the indictment –
6      critical information going to an essential element of the already-returned
7      indictment against Ms. Omidi.
8                The government’s delays in obtaining this additional information coincided
9      with delays in the events that would unseal the indictment. Searches originally
10     slated for November or December 2013 (according to the government’s initial
11     sealing application) were delayed until June 2014 in an apparent attempt to allow
12     the government to obtain the information regarding the postal money order
13     transactions at issue in the indictment that it had frantically sought on the day
14     before the indictment was returned. By keeping the indictment under seal and
15     delaying its arrest of Ms. Omidi, the government was able to obtain critical
16     evidence that it did not have when it indicted Ms. Omidi in October 2013, and
17     would not have had in time for a speedy trial in December 2013 or January 2014.
18               D.    The Government’s Arrest of Ms. Omidi and Searches of Her
19                     Home and Related Businesses
20               In the early morning hours of June 4, 2014, nearly eight months after the
21     government had indicted Ms. Omidi on this stale, largely time-barred, and
22     relatively insignificant structuring case, agents stormed Ms. Omidi’s home, rousted
23     her from her bed, and arrested her at gunpoint while other agents executed search
24     warrants at her home and at locations affiliated with businesses in which she and
25     her sons were involved. (Ex. F, Search Warrant for 1235 Sierra Alta Way, West
26     Hollywood, Ca., No. 04-1033M; Ex. G, Search Warrant for 9001 Wilshire Blvd.,
27     Beverly Hills, Ca., No. 04-1035M; Ex. H, Search Warrant for One Wilshire Blvd.,
28     Los Angeles, Ca., No. 04-1030M.) During those searches, the government seized
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1      100 terabytes of electronic data and 1,700 boxes of hard copy documents. (Ex. I,
2      Letter from Assistant United States Attorney Evan Davis, dated June 19, 2014
3      (“Davis Letter”), at 1, 2.)
4                The government took Ms. Omidi in handcuffs and hauled her to the Roybal
5      Federal Building, where they sought detention of a 65-year old United States
6      citizen and cancer survivor who has resided in the Los Angeles area for 30 years.
7      (Notice of Request for Detention, Dkt. No. 7.) The government’s request for
8      detention was denied, and Ms. Omidi was released on bond. (Minutes of
9      Detention Hearing, Dkt. No. 29.)
10               E.      The Overlap Between the Indictment and the Search Warrant
11                       For Ms. Omidi’s Residence
12               In an attempt to narrow its discovery obligations in this case, the government
13     has maintained that the search warrant executed at Ms. Omidi’s arrest concurrently
14     with her arrest on June 4, and all evidence seized pursuant to that and other
15     warrants executed on the same date, pertain to a separate investigation of unrelated
16     criminal activity. The government’s attempted distinction between the indicted
17     case and the search warrant investigation, however, collapses upon closer scrutiny:
18                     Same Targets: Ms. Omidi and her sons have been named as targets of
19                       the investigation of both the crimes alleged in the indictment and the
20                       crimes at issue in the search warrant. (Ex. B, Martin Report, at 1; Ex.
21                       F, Sierra Alta Search Warrant, at 1-6.)
22                     Same Crimes: Both the search warrant and the indictment involve the
23                       same alleged criminal activity: money laundering. The search warrant
24                       specifically names money laundering under 18 U.S.C. § 1956 as a
25                       target crime, while the investigative report regarding the indictment in
26                       this case identifies money laundering as a crime to be considered for
27                       indictment. (Ex. B, Martin Report, at 5; Ex. F, Sierra Alta Search
28
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1                        Warrant, at 3). The search warrant thus sought documents related to
2                        the very crime for which Ms. Omidi was investigated in the probe
3                        leading to the indictment. Moreover, the search warrant identified
4                        other financial crimes such as tax evasion that would logically involve
5                        records relevant to the structuring charges in the indictment.
6                      Same Company: The search warrant executed at Ms. Omidi’s home
7                        expressly sought documents regarding “Pacific West Dermatology”—
8                        the very company whose bank account is the focus of the indictment
9                        and into which the allegedly structured money orders were deposited.
10                       (Ex. B, Martin Report, at 3; Ex. F, Sierra Alta Search Warrant, Attach.
11                       Entity List, at 5.)
12
                       Same Date and Time: The government arrested Ms. Omidi on the
13
                         charges in the indictment on the same day that the government
14
                         executed search warrants at her home and several business locations
15
                         that the government believes to be associated with her and her family.
16
                         Ms. Omidi’s arrest took place at gunpoint while the government
17
                         executed the search warrant at her home.
18
                       Same Agents and Agencies: The lead case agent on the search
19
                         warrant investigation – Samanta Kelley of the Food and Drug
20
                         Administration (“FDA”)—was heavily involved in investigating the
21
                         crimes alleged in the indictment. (Ex. D, Complaint re: Tiffiny
22
                         Burrows, dated June 8, 2012; Ex. A, Kelley-Martin E-mail.)
23
                       Same Prosecutors: The prosecutors assigned to the indicted case
24
                         against Ms. Omidi are the same prosecutors who authorized the search
25
                         warrants executed at Ms. Omidi’s home and elsewhere.
26
                       Same Investigation: As noted above, communications disclosed by
27
                         the government demonstrate that the structuring indictment was the
28
                                                      9
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1                      direct result of the investigation that led to the search warrants, and
2                      further that the stale and long-abandoned structuring charges appear to
3                      have been resurrected for the purpose of gaining leverage against Ms.
4                      Omidi and her sons in the search warrant investigation. (Ex. A,
5                      Kelley-Martin E-mail, at 2.)
6                The government itself linked the investigation that led to the search warrants
7      with the investigation that led to the indictment when it sought to seal the
8      indictment based on the claim that not doing so would compromise the search
9      warrant investigation. (Ex. C, Sealing App., at 2-3.) That assertion indicates that
10     even the government views the indictment as directly related to the search warrant
11     investigation; if they were truly unrelated as the government now contends, there
12     would have been no basis for the government to be concerned that the unsealing of
13     the structuring indictment would alert Ms. Omidi and others to the existence of the
14     search warrant investigation or result in the destruction of documents relevant to
15     that investigation. More recently, the government has thus far declined to stipulate
16     that it will not seek to use evidence seized in or derived from the searches in its
17     prosecution of this case.
18               These facts expose as illusory the bright-line distinction that the government
19     seeks to draw between the investigation that led to the search warrant for Ms.
20     Omidi’s home and the investigation that led to the indictment in this case. The
21     facts and circumstances demonstrate that the two investigations were inextricably
22     intertwined as part of the government’s broader effort to target Ms. Omidi and her
23     sons. Thus, the government’s attempt to cordon off discovery regarding that
24     broader effort, as further discussed below, must fail.
25
26
27
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1      III.      ARGUMENT
2                A.    Rule 16 and Brady Require the Disclosure of the Search Warrant
3                      Affidavit
4                 Rule 16 of the Federal Rules of Criminal Procedure requires the disclosure
5      of any documents that are “material to preparing the defense.” Fed. R. Crim. P.
6      16(a)(1)(E)(i). Courts have described “material” information under Rule 16 as
7      information that is “significantly helpful to an understanding of important
8      inculpatory or exculpatory evidence. The materiality requirement typically is not a
9      heavy burden; rather, evidence is material as long as there is a strong indication
10     that the evidence will play an important role in uncovering admissible evidence,
11     aiding witness preparation, corroborating testimony, or assisting impeachment or
12     rebuttal. United States v. Liquid Sugars, Inc., 158 F.R.D. 466, 471 (E.D. Cal.
13     1994) (internal quotations, citation, and emphasis omitted); see United States v.
14     Poindexter, 727 F. Supp. 1470, 1473 (D.D.C. 1989) (“The language and the spirit
15     of [Rule 16] are designed to provide to a criminal defendant, in the interest of
16     fairness, the widest possible opportunity to inspect and receive [discoverable]
17     materials . . . .”)
18                Similarly, Brady v. Maryland, 373 U.S. 83 (1963), requires the disclosure of
19     “information that is likely to result in admissible evidence that would give the jury
20     [or] a court a more complete basis for judging guilt or punishment.” United States
21     v. Sudikoff, 36 F. Supp. 2d 1196, 1201 (C.D. Cal. 1999), quoted with approval in
22     United States v. Price, 566 F.3d 900, 913 n.14 (9th Cir. 2009) (“For the benefit of
23     trial prosecutors who must regularly decide what material to turn over, we note
24     favorably the thoughtful analysis set forth [in Sudikoff].”).
25               The government has refused to disclose the affidavit in support of the search
26     warrant executed at Ms. Omidi’s home. That affidavit, however, is material to
27     preparation of the defense in this case by virtue of the substantial interrelatedness
28
                                                   11
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1      and overlapping nature of the investigations and the charges. In order to justify the
2      search of Ms. Omidi’s home for the specified items, the affidavit must necessarily
3      have demonstrated probable cause that (i) the crimes enumerated in the search
4      warrant were committed; (ii) Ms. Omidi committed them; and (iii) evidence of
5      those crimes would be found at Ms. Omidi’s home. See Chism v. Washington,
6      661 F.3d 380, 389 (9th Cir. 2011). The search warrant seeks a litany of documents
7      “relating to . . . Cindy Omidi” and further identifies several alleged financial
8      crimes as the focus of the search, including money laundering, which is directly
9      connected to the crime charged in the Indictment.1 (Ex. F, Sierra Alta Search
10     Warrant.) Thus, the affidavit must necessarily have contained evidence that
11     money-laundering-related crimes like the one charged in the indictment were
12     committed and that Ms. Omidi committed them. That information would
13     undoubtedly be “significantly helpful to an understanding of important inculpatory
14     or exculpatory evidence” regarding the crime alleged in the indictment. Liquid
15     Sugars, 158 F.R.D. at 471.
16               But the search warrant was even more closely tied to this case; the items to
17     be seized listed “items relating to . . . Pacific West Dermatology,” including all
18     documents, correspondence, financial records (and specifically “[b]ank statements
19     and records, . . . money orders and other money transfer records, . . . and deposit
20     records”) , and ownership and control records. (Ex. F, Sierra Alta Search Warrant,
21     at 2 & Attach. Entity List, at 5.) Pacific West Dermatology is the very entity
22     whose bank account lies at the heart of the indictment. (Ex. B, Martin Report, at 3
23     (“The bulk of the money orders (180) were deposited into the above referenced
24
25     1
        Currency structuring is a subspecies of money laundering and was proscribed as a felony by the
26     Money Laundering Control Act of 1986, codified at 18 U.S.C. §§ 1956 & 1957. Congress’s
       purpose in making structuring a crime was to “provide Federal law enforcement agencies with
27     additional tools to investigate money laundering [and to] curb the spread of money laundering,
       by which criminals have successfully disguised the nature and source of funds from their illegal
28     enterprises.” S. Rep. No. 99–433, pp. 1–2 (1986).
                                                     12
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1      East West bank account of Pacific West Dermatology . . . .”).) The affidavit in
2      support of the search warrant must necessarily have contained probable cause
3      concerning financial transactions involving Ms. Omidi and Pacific West
4      Dermatology – information inextricably intertwined with the charged offense in
5      the indictment that clearly “will play an important role in uncovering admissible
6      evidence, aiding witness preparation, corroborating testimony, or assisting
7      impeachment or rebuttal.” Liquid Sugars, 158 F.R.D. at 471 (internal quotation
8      marks and emphasis omitted).2
9                Because the affidavit must have set forth probable cause that Ms. Omidi was
10     involved in the enumerated crimes and had the specified items at her house, it must
11     necessarily contain information currently in the government’s possession
12     concerning Ms. Omidi, Pacific West Dermatology and other related entities, the
13     relationships between Ms. Omidi and those entities, and financial transactions
14     involving Ms. Omidi and those entities. It is those very kinds of transactions that
15     are the subject of the indictment. The government cannot legitimately claim that a
16     detailed report of evidence in its possession concerning the same defendant, the
17     same company, related transactions, similar defenses, arising out of the same
18     investigation as the indictment in this case, and supporting a search of the
19     defendant’s home at the same time as her arrest on the current charges does not
20     meet even the minimal Rule 16 threshold for materiality.
21               Finally, the government has declined at this point to commit to not using any
22     evidence from the June 4 searches at Ms. Omidi’s upcoming trial, nor has it
23     2
         Moreover, the list of items to be seized demonstrates that the government believes Ms. Omidi is
24     involved with companies other than Pacific West Dermatology, and the search warrant
       authorized the government to seek financial records regarding all of those companies. (Ex. G,
25     Sierra Alta Search Warrant, at 2 & Attach. Entity List, at 1-7.) In a case that is focused directly
26     on Ms. Omidi’s state of mind regarding financial transactions and her purported evasion of
       recordkeeping of those transactions, the search warrant affidavit’s information concerning Ms.
27     Omidi’s relationship with those other companies and their financial transactions would be “likely
       to result in admissible evidence that would give the jury [or] a court a more complete basis for
28     judging guilt or punishment.” Sudikoff, 36 F. Supp. 2d at 1201.
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1      committed to not obtaining or using any evidence derived from the seized
2      evidence. (Ex. I, Davis Letter, at 2.) In light of the government’s position,
3      production of the search warrant should be compelled to allow Ms. Omidi an
4      opportunity to seek to suppress such direct and derivative evidence.3
5                B.    Grand Jury Transcripts Should Be Produced Based on a Showing
6                      of Potential Grand Jury Abuse
7                      1.    A Court May Compel the Disclosure of Grand Jury Materials
                             Upon the Showing of Particularized Need by a Defendant
8
9                A federal grand jury serves to independently decide which cases should be
10     prosecuted and in the process acts as a buffer to protect citizens against unfair
11     charges. See United States v. Navarro-Vargas, 408 F.3d 1184, 1196 (9th Cir.
12     2005) (en banc) (“[T]he Supreme Court has steadfastly insisted that the grand jury
13     remains as a shield against unfounded prosecutions.”) The Fifth Amendment
14     states that “[n]o person shall be held to answer for a capital, or otherwise infamous
15     crime, unless on a presentment or indictment of a grand jury.” U.S. Const. amend.
16     V. The purpose of the grand jury requirement “is to limit a person's jeopardy to
17     offenses charged by a group of his fellow citizens acting independently of either
18     the prosecutor or the judge.” United States v. Basurto, 497 F.2d 781, 785 (9th Cir.
19     1974) (citing Stirone v. United States, 361 U.S. 212 (1960)). Moreover, the
20     Supreme Court has made clear that indictment must be by an unbiased and
21     independent grand jury. United States v. Williams, 504 U.S. 36, 49 (1992);
22     Costello v. United States, 350 U.S. 359, 363 (1956). This guarantee is not a
23     platitude – it is a critical constitutional protection that deserves the utmost respect
24
       3
         Given the close overlap between this case and the search warrant investigation, as well as the
25     circumstances of the government’s hasty indictment and the fact that the warrants sought
26     evidence of money orders relating to Pacific West Dermatology and other evidence that is
       directly relevant here, there is reason to be concerned that the government used the searches at
27     least in part to gather additional evidence in support of this weak, previously indicted case. Even
       were the government to now commit to not using such evidence at trial, however, production of
28     the affidavit should still be compelled for the other reasons detailed above.
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1      from the prosecution. See United States v. Serubo, 604 F.2d. 807, 816 (3d Cir.
2      1979). However, “[t]he fact that grand jury proceedings are secret, Ex parte and
3      largely under the control of the federal prosecutor magnifies this concern” that the
4      guarantee of independence and a lack of bias will not be given the deference it
5      requires. Id. (footnote omitted).
6                To be sure, the “long-established policy that maintains the secrecy of the
7      grand jury proceedings in the federal courts” is also an important facet of our
8      criminal justice system. United States v. Procter & Gamble Co., 356 U.S. 677, 681
9      (1958). This policy is based on several concerns related to the grand jury process,
10     including the concern that if grand jury proceedings were made public, there is the
11     potential that prospective witnesses would be hesitant to come forward voluntarily
12     or to testify fully and frankly for fear of potential repercussions from those against
13     whom they testify. See, e.g., Douglas Oil Co. of Cal. v. Petrol Stops Nw., 441
14     U.S. 211, 219 (1978). In this regard, encouraging the “free and untrammeled
15     disclosures by persons who have information with respect to the commission of
16     crimes” also has been recognized as a reason for secrecy. Procter & Gamble Co.,
17     356 U.S. at 681 n.6 (internal citation omitted). Pre-indictment flight risk, as well
18     as the worry that those ultimately exonerated by a grand jury would be subject to
19     public ridicule if their identities were made public, also mitigates in favor of
20     secrecy. See Douglas Oil, 441 U.S. at 219.
21               Grand jury secrecy, however, is not absolute. Indeed, the Supreme Court
22     has made clear that the standard for protecting the secrecy of grand jury
23     proceedings is a flexible one and that the need for maintaining secrecy is greater in
24     some cases than in others. See United States v. John Doe, Inc. I, 481 U.S. 102,
25     112-13 (1987). Moreover, the Court has opined that the interests in maintaining
26     grand jury secrecy are reduced when the grand jury has ended its activities. See
27     Douglas Oil, 441 U.S. at 222; see also Dennis v. United States, 384 U.S. 855, 870
28     (1966) (recognizing that “after the grand jury’s functions are ended, disclosure is
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1      wholly proper where the ends of justice require it”) (internal quotations and
2      citation omitted); see also United States v. Mahoney, 495 F. Supp. 1270, 1273
3      (E.D. Pa. 1980). This makes sense given that the majority of the factors
4      underlying grand jury secrecy (as detailed above) disappear once the grand jury
5      has finished its work. See Douglas Oil, 441 U.S. at 222 (recognizing that “the
6      interests in grand jury secrecy, although reduced, are not eliminated merely
7      because the grand jury has ended its activities”); see also United States v. Twersky,
8      No. S2 92 Cr. 1082 (SWK), 1994 U.S. Dist. LEXIS 8744, at *15 (S.D.N.Y. June
9      29, 1994) (noting that “[g]enerally, however, once an investigation is over, most of
10     the policies which warrant maintaining the secrecy of the grand jury proceeding …
11     are no longer present”); Mahoney, 495 F. Supp. at 1273 (same).
12               Federal Rule of Criminal Procedure 6(e)(3)(E)(ii) (“Rule 6(e)”) codifies the
13     standard under which a court may order disclosure of matters occurring before a
14     grand jury, making clear that this may occur “at the request of a defendant who
15     shows that a ground may exist to dismiss the indictment because of a matter that
16     occurred before the grand jury.” Fed. R. Crim. P. 6(e)(3)(E)(ii). This may arise,
17     for example, in the context of prosecutorial misconduct, where a defendant
18     demonstrates that the indictment should be dismissed as a result of misconduct that
19     occurred before the grand jury or elsewhere. See United States v. Carona, No.
20     SACR 06-0224 AG, 2008 WL 1970205, at *2 (C.D. Cal. May 2, 2008) (stating
21     that “particularized need can arise in the context of unfair or improper
22     prosecutorial conduct”) (internal quotations and citation omitted). Often, in order
23     to fully evaluate the full extent of the prosecution’s malfeasance in the wake of
24     such a motion, courts will review and refer to grand jury proceedings. See, e.g.,
25     United States v. Samango, 607 F.2d 877, 878-79 (9th Cir. 1979).
26               The standards a district court should follow in deciding whether to release
27     grand jury transcripts are “(1) that the desired material will avoid a possible
28     injustice, (2) that the need for disclosure is greater than the need for continued
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1      secrecy, and, (3) that only the relevant parts of the transcripts should be disclosed.”
2      United States v. Plummer, 941 F.2d 799, 806 (9th Cir. 1991) (citing Douglas Oil
3      Co., 441 U.S. at 223. Compelling such disclosure is wholly within the discretion
4      of a district court. See Douglas Oil, 441 U.S. at 223 (court has “substantial
5      discretion” to decide whether grand jury transcripts should be released); see also
6      Plummer, 941 F. 2d at 806 (decision to release grand jury transcripts is reviewed
7      for abuse of discretion). The Ninth Circuit has recognized the Supreme Court’s
8      “general suggestion in favor of disclosure” of grand jury materials. United States
9      v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986) (citing Dennis, 384 U.S. at 870).
10     Thus, when a defendant articulates specific facts and evidence that that support
11     disclosure, and the policies underlying the need for grand jury secrecy are minimal,
12     court-compelled disclosure is warranted. See, e.g., Carona, 2008 WL 1970205, at
13     *5 (reviewing requested grand jury transcripts in camera and permitting disclosure
14     of material relevant to defendants’ arguments where articulated need outweighed
15     policy reasons for grand jury secrecy); United States v. Naegele, 474 F. Supp. 2d
16     9, 11-12 (D.D.C. 2007) (compelling disclosure of production and inspection of
17     grand jury materials prior to evidentiary hearing to determine whether any
18     prosecutorial misconduct took place); accord Douglas Oil, 441 U.S. at 222;
19     Dennis, 384 U.S. at 871-72; Plummer, 941 F.2d at 806.
20                     2.    Ms. Omidi Has a Particularized Need for Disclosure of Specific
21                           Grand Jury Materials
22
                 Ms. Omidi requests that the Court compel disclosure of the following
23
       discreet and specific materials related to the grand jury proceedings here: (1) the
24
       transcripts of all statements made by the prosecution to the grand jury during the
25
       course of the investigation and indictment of the structuring case, including,
26
       without limitation, (a) the prosecution’s introductory remarks at the beginning of
27
       the investigation and before or after any witness’ testimony, (b) the entire
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                                                  17
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1      transcript of the day or days on which the grand jury was read the indictment
2      (including the prosecution’s introductory remarks and closing statements), and (c)
3      any instructions given to the grand jury concerning the elements of the charged
4      offense; and (2) the transcripts of any grand jury testimony by any witness
5      regarding the purchase of any of the money orders listed in the indictment.
6                As discussed above, the facts and circumstances surrounding the return of
7      the indictment in this case suggest that the government engaged in a pretextual
8      effort to keep the indictment under seal while the government labored to fill a
9      critical gap in the evidentiary record as to an essential element. Those facts and
10     circumstances include the following:
11               •     In order to prevail in this case and be prepared for trial, the
12     government needed evidence that Ms. Omidi structured purchases of postal money
13     orders using cash.
14               •     The day before the government presented the indictment to the grand
15     jury, the government made an urgent request seeking the evidence it needed to
16     prove an essential element of its case – specifically, that cash was used to purchase
17     the postal money orders at issue in the indictment.
18               •     In response to its request, the government was informed that the
19     evidence would not be available for quite some time.
20               •     The government nevertheless presented the Indictment on October 11,
21     2013. At that time, seven of the charged transactions were due to lapse out of
22     statute within the next three weeks.
23               •     In the days after the indictment was returned, the government
24     continued to seek evidence that cash was used to purchase the money orders at
25     issue in the indictment. It is unclear when that evidence became available, but it
26     appears that the government unsealed the indictment only after the evidence
27     became available.
28               •     In view of the public nature of the ongoing healthcare fraud
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1      investigation, the government offered misleading reasons for the initial sealing and
2      continued sealing of the indictment, and did not disclose the unavailability of the
3      evidence as a reason for obtaining or maintaining the seal.
4                The above particularized facts establish a need for disclosure that exceeds
5      any need for continued secrecy of the grand jury investigation that resulted in the
6      indictment in this case. See Plummer, 941 F.2d at 806. There is certainly reason
7      for concern that the government did not have on October 11, 2013 – and therefore
8      could not have presented to the grand jury – evidence that the money orders
9      charged in the indictment were purchased with cash, an essential element of the
10     structuring charge in the indictment. If the government did not present such
11     evidence to the grand jury – or worse, presented misleading or unsupported
12     evidence – then Ms. Omidi could seek to have the indictment dismissed for grand
13     jury abuse. See, e.g, United States v. Cerullo, 2007 WL 2683799 (S.D.Cal. Sept.
14     7, 2007); United States v. Di Bernardo, 552 F. Supp. 1315, 1325 (S.D. Fla. 1982),
15     rev’d on other grounds, 880 F.2d 1216 (11th Cir. 1989). Ms. Omidi’s specific
16     requests for testimony on this subject and for the prosecutor’s statements to the
17     grand jury are adequately tailored to address the particularized need shown above,
18     and disclosure should be ordered.
19                     3.     In Camera Review of the Requested Materials
20               If the Court is reluctant to order that the grand jury materials sought herein
21     be disclosed, Ms. Omidi requests that the Court review these materials in camera
22     to determine whether she should be permitted to inspect them. Indeed, when
23     considering whether or not disclosure of grand jury materials is appropriate, courts
24     routinely inspect the materials in camera to determine if relevant material is
25     contained therein. See, e.g., Plummer, 941 F.2d at 806; Carona, 2008 WL
26     1970205, at *5; Naegele, 474 F. Supp. 2d at 12; Twersky, 1994 U.S. Dist. LEXIS
27     8744, at**15, 16; Di Bernardo, 552 F. Supp. at 1325. Following this review,
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1      courts will disclose specific materials to the requesting defendant where
2      appropriate. See, e.g., Plummer, 941 F.2d at 806 (noting that the district court had
3      “conducted an in camera review of the grand jury transcripts and decided to
4      provide Mr. Plummer with all of the relevant parts”); see also Carona, 2008 WL
5      1970205, at *5 (same); Naegele, 474 F. Supp. 2d at 12 (disclosing full grand jury
6      record after in camera review).
7                C.    The Government Should Be Compelled to Comply With its
8                      Obligations Under Brady By Reviewing All Evidence in its
                       Possession For Exculpatory Information in Advance of Trial
9
10               The government has seized, through its searches of Ms. Omidi’s home and
11     of businesses with which the government contends she is associated, an
12     astonishing 100 terabytes of electronic data and 1,700 boxes of paper documents.
13     Based on the list of items to be seized in the search warrants, it is inevitable that
14     some or much of the seized evidence overlaps with the charges and potential
15     defenses in this case. Yet the government has made clear that it has no intention of
16     reviewing the evidence in its possession for exculpatory material before Ms.
17     Omidi’s July 29 trial date; instead, the government proposes to dump an avalanche
18     of documents and data on the defense and demand that the defense perform the
19     government’s Brady review. As dictated by Supreme Court and other case law, the
20     government cannot evade its constitutional duties in this manner.
21                     1.    The Government’s Brady Obligations
22               Under the Due Process Clause of the Fifth Amendment, the government has
23     an obligation to disclose evidence favorable to the defendant that is material to
24     either guilt or punishment. Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963);
25     see United States v. Bagley, 473 U.S. 667, 676 (1985); United States v. Agurs, 427
26     U.S. 97, 110-11 (1976). The government must produce “any potentially
27     exculpatory or otherwise favorable evidence without regard to how the
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1      withholding of such evidence might be viewed with the benefit of hindsight” after
2      the trial. United States v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005). “The only
3      question before (and even during) trial is whether the evidence at issue may be
4      ‘favorable to the accused’; if so, it must be disclosed without regard to whether the
5      failure to disclose it likely would affect the outcome of the upcoming trial.” Id.
6      (citing cases); see also United States v. Sudikoff, 36 F. Supp. 2d 1196, 1199-1200
7      (C.D. Cal. 1999) (in pre-trial context, government is “obligated to disclose all
8      evidence . . . which might reasonably be considered favorable to the defendant’s
9      case,” including “inadmissible evidence that would [lead] to admissible
10     evidence”); United States v. Carter, 313 F. Supp. 2d 921, 925 (E.D. Wis. 2004)
11     (“in the pre-trial context, the court should require disclosure of favorable evidence
12     under Brady and Giglio without attempting to analyze its ‘materiality’ at trial”).4
13               According to well established case law, it is the prosecution – not the
14     defense – that has the affirmative duty to review the records in its possession to
15     identify Brady material. See Kyles v. Whitley, 514 U.S. 419, 437 (1995) (“[T]he
16     prosecution, which alone can know what is undisclosed, must be assigned the
17     consequent responsibility to gauge the likely net effect of all such evidence and
18     make disclosure when the point of ‘reasonable probability’ is reached. This in turn
19     means that the individual prosecutor has a duty to learn of any favorable evidence
20     known to the others acting on the government's behalf in the case . . . .”); Carriger
21     v. Stewart, 132 F.3d 463, 479-80 (9th Cir. 1997) (“The prosecution is obligated by
22     the requirements of due process to disclose material exculpatory evidence on its
23
24     4
         The defense has also requested production of Giglio material from the government. See Giglio
       v. United States, 405 U.S. 150 (1972). Because the defense does not know the identity of the
25     government’s witnesses, it cannot assess whether any impeachment information is likely to be
26     contained in the documents and records that are in the government’s possession. To the extent
       such information exists, however, the government’s obligation is the same as for Brady material,
27     and this motion seeks to compel such review and production as well. See United States v.
       Bagley, 473 U.S. 667, 676 (1985) (“Impeachment evidence, [] as well as exculpatory evidence,
28     falls within the Brady rule.”).
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1      own motion, without request. . . . [T]he prosecution [also] has a duty to learn of
2      any exculpatory evidence known to others acting on the government's behalf.”);
3      see also United States v. Banks, 374 F. Supp. 321, 330 (D.S.D. 1974) (“It is the
4      prosecutors themselves who must personally direct a search of the files in pursuit
5      of discoverable material.”). Nor may the prosecutors delegate their constitutional
6      duties to case agents. See, e.g., United States v. Alvarez, 86 F.3d 901, 905 (9th
7      Cir. 1996) (“[W]e see little justification and much danger to both the prosecutor’s
8      reputation and the quality of justice her office serves for a prosecutor not to review
9      personally those materials directly related to the investigation and prosecution of
10     the defendants . . . .”).5
11               Finally, due process requires that Brady evidence be disclosed to the defense
12     in sufficient time to be used effectively at trial. LaMere v. Risley, 827 F.2d 622,
13     625 (9th Cir. 1987); see United States v. Fernandez, 231 F.3d 1240, 1248 (9th Cir.
14     2000).
15                     2.    The Government Should Not Be Permitted to Evade its
                             Constitutional Brady Obligations By Dumping Voluminous
16                           Documents on the Defense
17               The documents and records seized during the searches on June 4, 2014 are
18     unquestionably within the government’s possession, custody, and control.
19     Moreover, if Brady information is contained in any of those documents and
20     records, the government is obligated to produce such information in advance of
21
       5
22       Apart from case law, the Department of Justice’s own guidelines, “fashioned after some
       embarrassing non-disclosures in other cases, command an actual review of the materials
23     acquired during investigation of a criminal case for the purpose of disclosing Brady/Giglio
       materials.” United States v. Salyer, 2010 WL 3036444 at *3 (E.D. Cal. Aug. 2, 2010) (emphasis
24     in original); see United States Attorney’s Manual, Title 9, Section 165 (“Guidance for
       Prosecutors Regarding Criminal Discovery”) (Jan. 4, 2010) (stating inter alia that “[i]t is the
25     obligation of federal prosecutors, in preparing for trial, to seek all exculpatory and impeachment
26     information from all members of the prosecution team,” that “generally all potentially
       discoverable material within the custody or control of the prosecution team should be reviewed,”
27     that “[g]enerally, all evidence and information gathered during the investigation should be
       reviewed, including anything obtained during searches or via subpoenas, etc.,” and that
28     “prosecutors must ensure that the material is reviewed to identify discoverable information”).
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1      trial in this case. Yet in communications with the defense, the government has
2      taken the position that (1) there is no Brady material with respect to the current
3      indictment in the massive amount of data that was seized on June 4, and (2) its
4      Brady obligations are satisfied by producing or making available all seized, non-
5      privileged evidence to the defense (which it is not clear at this point the
6      government will be able to do in advance of trial).
7                With respect to the first point, apart from the fact that the government cannot
8      possibly know what the seized documents contain until it has reviewed them (a
9      process that apparently has not yet even begun), the government’s speculation
10     about what is and is not contained in those documents is almost certainly wrong.
11     As discussed above, the mountain of documents and electronic data seized during
12     execution of the government’s search warrants – data seized at the time of Ms.
13     Omidi’s arrest on the charges in this case – includes evidence from Ms. Omidi’s
14     home and businesses, evidence relating to Ms. Omidi’s finances and to those of the
15     company whose bank account is the focus of the current indictment, evidence
16     relating to that bank account itself, and evidence relating to financial crime charges
17     that are both legally and factually intertwined with those in this case and were
18     investigated by the same agents, agencies and prosecutors against the same targets.
19     It is inconceivable, applying the liberal standards governing Brady evidence, that
20     nothing in the vast amount of evidence now in the government’s possession
21     pursuant to searches could reasonably be considered favorable to the defense in a
22     trial on charges against the same target named in the search warrants for financial
23     transactions involving the same business named in those warrants. Certainly, such
24     an unlikely conclusion cannot be reached without a careful and thorough review of
25     the evidence itself – an obligation that falls squarely, and exclusively, on the
26     government. See Kyles, 514 U.S. at 437 (prosecution has the duty to learn of
27     favorable evidence and to make proper disclosure).
28               Indeed, during a meet-and-confer held on June 27, 2014, the government
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1      expressly declined the defense’s invitation to represent that there is no Brady or
2      Giglio material contained anywhere in the seized evidence. (Declaration of
3      Matthew Donald Umhofer, ¶¶ 2-3). Absent the ability to make such a
4      representation, the government has the clear duty to review the evidence in its
5      possession for exculpatory information. Yet the government has represented to the
6      defense only that it will instruct its agents to search for Brady and Giglio
7      information during the course of their upcoming “months-long review” and that it
8      will turn over any such information “as soon as practicable.” (Ex. I, Davis Letter,
9      at 2.) Ms. Omidi’s trial is scheduled to commence on July 29.
10               As for the government’s “document dump” approach, courts have recently
11     addressed the government’s Brady obligations in light of the rise of e-discovery
12     and the attendant increase in voluminous document cases. Relying on Kyles and
13     other Supreme Court case law, those courts have held that the government does not
14     satisfy its constitutional duty by dumping documents on defense counsel and
15     telling them to review the documents for Brady material. For example, one court
16     observed that “open-file discovery does not relieve the government of its Brady
17     obligations. The government cannot meet its Brady obligations by providing [the
18     defendant] with access to 600,000 documents and then claiming that she should
19     have been able to find the exculpatory information in the haystack.” United States
20     v. Hsia, 24 F. Supp. 2d 14, 29 (D.D.C. 1998), rev’d in part on other grounds, 176
21     F.3d 517 (D.C. Cir. 1999). The court went on to emphasize that, in accordance
22     with Supreme Court precedents, “it is the government's responsibility in the first
23     instance to determine whether information in its possession is Brady material.” Id.
24     at 30 (emphasis added).
25               Similarly, in United States v. Salyer, 2010 WL 3036444 (E.D. Cal. Aug. 2,
26     2010), the court relied on established case law and the Department of Justice’s own
27     discovery guidance in concluding that the “the prosecution has the duty to
28     affirmatively scout those records of the agencies considered the ‘government’ for
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1      purposes of the criminal case in order to determine and acquire those materials
2      which would be considered Brady exculpatory and Giglio impeaching.” Id. at *3.
3      The court noted that “nowhere in the [DOJ guidance] does it even suggest that in
4      lieu of affirmatively looking for Brady/Giglio the prosecutor may determine not to
5      look at all and simply disclose the entire discovery file. The prosecutor’s argument
6      that his duty to affirmatively search for Brady/Giglio information is performed by
7      not searching is oxymoronic in nature.” Id.
8                Although the government argued in Salyer that it was an “impossible”
9      burden to review all the evidence gathered during its investigation for Brady
10     material, the court found that the government’s duty to do so is even more
11     compelling in a “big documents” case. Id. at *3-5. Indeed, the court found that the
12     government’s impossibility claim was wholly inconsistent with its argument that
13     “the defense can ferret out all of the Brady/Giglio material itself,” and observed
14     that the defense’s burden would be even more impossible than the government’s
15     given the length of the government’s pre-indictment investigation as compared to
16     the short period between indictment and trial. Id. at *4. The court dismissed the
17     government’s argument as effectively claiming “that logistics in the ‘big
18     documents’ case render Brady/Giglio a dead letter no matter who has the burden of
19     ascertaining the information. There is no authority to support this evisceration of
20     constitutional rights just because the case has voluminous documentation.” Id. at
21     *5. As the court recognized, the “ultimate issue” in these massive document cases
22     “is whether there is ‘disclosure’ in the letter and spirit of Brady/Giglio simply by
23     turning over a mountain of ‘everything’ . . . and telling defense counsel nothing
24     about where exculpatory/impeaching information can be found.” Id. at *6
25     (emphasis in original); compare United States v. Skilling, 554 F.3d 529, 577 (5th
26     Cir. 2009) (finding no Brady violation from government’s voluminous open-file
27     discovery where the government “did much more than drop several hundred
28     million pages on Skilling’s doorstep,” including producing an electronic, indexed,
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1      and searchable database and highlighting particularly relevant documents).
2                The evidence in Hsia consisted of over 600,000 documents. Hsia, 24 F.
3      Supp. 2d at 28. The evidence in Salyer consisted of “multiple gigabytes” of
4      electronic information, each averaging over 677,000 text file pages and over
5      100,000 pages of e-mail files, as well as two storage containers of hard documents.
6      Salyer, 2010 WL 3036444 at *3 & n.3. In this case, by contrast, the government
7      has stated that the evidence seized in its searches comprises 1,700 boxes of
8      documents and 100 terabytes of electronic data.6 The utterly mind-bending
9      volume of such evidence makes the analysis of Hsia and Salyer apply more than
10     ten-thousandfold. If the government’s open-file disclosure of the 600,000
11     documents in Hsia constituted an unacceptable invitation “to find the exculpatory
12     information in the haystack,” Hsia, 24 F. Supp. 2d at 29, then the government’s
13     apparent position here that the defense should perform the government’s obligation
14     of reviewing some 7.5 billion electronic pages (plus 1,700 boxes) for Brady/Giglio
15     material is an invitation to find exculpatory information in a field of over 1,000
16     haystacks. Moreover, because of the overwhelming amount of time necessary for
17     review – months or even years, according to the government’s own estimates – the
18     government’s demand effectively forces Ms. Omidi to choose between exercising
19     her right to a speedy trial or her right to a constitutionally fair one.7
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         Each terabyte of information is 1,000 gigabytes, the unit of measurement at issue in Salyer. A
       terabyte is the equivalent of 7.5 million electronic documents, or 75 million printed pages. See
25     http://us.hudson.com/legal/esi-calculator.
       7
26       Even were the defense to be given the responsibility of reviewing the seized evidence for Brady
       material, the logistics of simply copying and producing the seized evidence make it impossible
27     as a practical matter for the defense to do so before the upcoming trial. Scanning or
       photocopying only the 1,700 boxes of paper documents, which are housed at the FDA Field
28     Office in San Clemente, is likely to take months,
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1                In light of the above, Ms. Omidi respectfully asks this Court to compel the
2      government to comply with its constitutional discovery obligations by reviewing
3      the evidence in its possession for Brady material and disclosing all such material
4      prior to the scheduled trial in this case. The government’s complaint that it is
5      simply impossible for it to do so because of the volume of evidence – a complaint
6      that was raised and rejected in Salyer – should not excuse the government’s
7      performance of its obligations or shift its burden to the defense, particularly
8      because the government’s present situation is one entirely of its own making. It is
9      the government that chose to seal the simple indictment in this case when it was
10     returned in October 2013 and not to unseal it until the government had seized
11     billions of pages of potentially relevant and exculpatory documents. It is the
12     government that chose to execute search warrants on multiple locations and to
13     seize an inordinately immense volume of documents that it would be obligated to
14     review and disclose prior to trial.8 It is the government that further chose to arrest
15     Ms. Omidi, unseal the indictment, and start the speedy trial clock running on the
16     same day that it executed those searches. Most importantly, it is the government
17     that has the constitutional duty to ensure a fair trial by reviewing and disclosing all
18     exculpatory information in its possession prior to – a duty with which the
19     government could easily have complied had it proceeded with this case when the
20     indictment was returned, before seizing billions of pages that it would then be
21     obligated to review.
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         The Salyer court noted that “[w]hen asked at [the] hearing why the government would seek so
25     much information, the [government’s] response, pared to its essence, was ‘because we can.’”
26     Salyer, 2010 WL 3036444 at *3. In light of the government’s seizure of 100 terabytes of
       electronic information and an additional 1,700 boxes of paper documents in a relatively run-of-
27     the-mill healthcare- and tax-fraud investigation, the “because we can” philosophy appears to
       control the prosecution here as well.
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1      IV.       CONCLUSION
2                 For the foregoing reasons, Ms. Omidi respectfully requests that this Court
3      compel production of discovery as requested herein.
4
       DATED: July 1, 2014                     Respectfully submitted,
5
6                                              BINGHAM MCCUTCHEN LLP
                                               Nathan J. Hochman
7                                              Daniel A. Saunders
8                                              SPERTUS, LANDES & UMHOFER, LLP
                                               Matthew Donald Umhofer
9
10
11                                             By: /S/ Nathan J. Hochman
                                                 Nathan J. Hochman
12                                               Attorneys for Defendant
                                                 Cindy Omidi
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1                        DECLARATION OF MATTHEW D. UMHOFER
2                I, Matthew D. Umhofer, declare as follows:
3                1.    I am an attorney duly licensed to practice law in the Central District of
4      California, and I am counsel for Defendant Ms. Cindy Omidi in the above-
5      captioned case. I have personal and firsthand knowledge of the facts set forth
6      herein and, if called as a witness, I could and would testify competently thereto
7      under oath.
8                2.    On June 27, 2014, pursuant to Local Rule 7-3, Daniel Saunders, Luke
9      Kuo, and I—attorneys for Defendant Ms. Omidi—engaged in a telephonic meet-
10     and-confer session with attorneys for the government, Assistant United States
11     Attorneys Evan Davis and David Kirman (“the Government”).
12               3.    During the meet-and-confer session, the Government expressly
13     declined to make a representation that there is no Brady or Giglio material
14     contained in the 100 terabytes of electronic data and 1,700 boxes of documents
15     seized from Ms. Omidi and others on June 4, 2014.
16               4.    Attached hereto as Exhibit A is a true and correct copy of the E-mail
17     exchange between Samanta Kelley and Victoria Martin.
18               5.    Attached hereto as Exhibit B is a true and correct copy of the letter
19     from Victoria Martin to AUSA David Kirman, dated November 5, 2012.
20               6.    Attached hereto as Exhibit C is a true and correct copy of Docket
21     Number 2, Ex Parte Application to Seal Indictment, Attached AUSA David
22     Kirman Declaration.
23               7.    Attached hereto as Exhibit D is a true and correct copy of the
24     Affidavit of Samanta Kelley in Support of Complaint Against Tiffiny Burrows,
25     dated June 8, 2012.
26               8.    Attached hereto as Exhibit E is a true and correct copy of the E-mail
27     exchange involving Eugene Seffert (“Seffert E-mail”), dated October 10-16, 2013.
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1                9.    Attached hereto as Exhibit F is a true and correct copy of the Search
2      Warrant for 1235 Sierra Alta Way, West Hollywood, conducted on June 4, 2014,
3      in Case Number 04-1033M.
4                10.   Attached hereto as Exhibit G is a true and correct copy of the Search
5      Warrant for 9001 Wilshire Blvd., Beverly Hills, Ca., conducted on June 4, 2014, in
6      Case Number 04-1035M.
7                11.   Attached hereto as Exhibit H is a true and correct copy of the Search
8      Warrant for One Wilshire Blvd., Los Angeles, conducted on June 4, 2014, in Case
9      Number 04-1030M.
10               12.   Attached hereto as Exhibit I is a true and correct copy of the letter
11     from Assistant United States Attorney Evan Davis to the defense, dated June 19,
12     2014.
13               I declare under penalty of perjury under the laws of the State of California
14     and the United States that the foregoing facts are true and correct to the best of my
15     information and belief.
16               Executed this 1st day of July 2014, at Los Angeles, California.
                                                 _______________________
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20                                               Matthew Donald Umhofer
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